 Case 1:19-md-02875-RMB-SAK Document 2525 Filed 10/30/23 Page 1 of 6 PageID: 87749



                            S KADDEN , A RPS , S LATE , M EAGHER & F LOM LLP
                                                 ONE MAN HATT AN W EST
                                                                                                      FIRM/AFFILIATE OFFICES
                                                 NEW YORK, NY 10001                                           -----------
                                                            ________                                        BOSTON
                                                                                                           CHICAGO
                                                     TEL: (212) 735-3000                                   HOUSTON
                                                     FAX: (212) 735-2000                                 LOS ANGELES
                                                                                                          PALO ALTO
                                                       www.skadden.com                                 WASHINGTON, D.C.
   DIRECT DIAL                                                                                            WILMINGTON
                                                                                                              -----------
(212) 735-2588
                                                                                                             BEIJING
   DIRECT FAX
                                                                                                           BRUSSELS
(917) 777-2588                                                                                            FRANKFURT
   EMAIL ADDRESS                                                                                          HONG KONG
Jessica.Davidson@SKADDEN.COM                                                                                LONDON
                                                                                                             MUNICH
                                                                                                              PARIS
                                                                                                          SÃO PAULO
                                                                                                             SEOUL
                                                         October 30, 2023                                  SHANGHAI
                                                                                                          SINGAPORE
                                                                                                              TOKYO
                                                                                                            TORONTO

       VIA ECF

            The Hon. Robert B. Kugler                      Special Master the Hon. Thomas Vanaskie
            United States District Judge                   Stevens & Lee
            USDJ, District of New Jersey                   1500 Market Street, East Tower
            Mitchell H. Cohen Building                     18th Floor
            & U.S. Courthouse                              Philadelphia, PA 19103
            4th & Cooper Streets, Room 1050
            Camden, NJ 08101

       RE: In re Valsartan, Losartan, and Irbesartan Products Liability Litigation, No. 1:19-md-2875-
       RBK-KMW (D.N.J.)

       Dear Judge Kugler and Judge Vanaskie:

       I write on behalf of the Defendants’ Executive Committee to inform the Court that Defendants
       wish to address the agenda topics below at the conference with the Court on November 1, 2023,
       and to set forth our positions on those items.

       I.          Update on Losartan/Irbesartan Document Productions

                A. Aurobindo. Aurobindo has negotiated an extension of time to begin its rolling
                   production of documents following irbesartan core discovery. It anticipates that rolling
                   productions will not begin before mid-November.

                B. Hetero. Hetero anticipates making its first production of documents by November 10,
                   2023, and will continue to make rolling productions of documents in line with its
                   discovery obligations. Hetero continues to update its list of custodians to satisfy
                   Plaintiffs’ requests.
Case 1:19-md-02875-RMB-SAK Document 2525 Filed 10/30/23 Page 2 of 6 PageID: 87750


   The Honorable Robert B. Kugler
   Special Master the Honorable Thomas Vanaskie
   October 30, 2023
   Page 2

          C. Sciegen. Sciegen anticipates making its first production of documents by November 10,
             2023, and will continue to make rolling productions of documents in line with its
             discovery obligations.

          D. Teva. Teva has made one rolling document production and will be serving its second
             rolling production this week.

          E. Torrent. Torrent anticipates making a production of documents by October 31, 2023,
             and will continue to make rolling productions of materials in line with its discovery
             obligations.

          F. Vivimed. Vivimed anticipates making its first production of documents this week, and
             will continue to make rolling productions of documents in line with its discovery
             obligations.

          G. ZHP. ZHP has made several rolling productions over the last few months, including one
             last week, and will continue to do so on an ongoing basis until discovery is substantially
             complete.

   II.       Update on Motion to Compel WeChat Production

   The parties have reached a tentative agreement regarding limited production of WeChat data
   from select ZHP custodians, obviating the need for oral argument.

   III.      Rite Aid Bankruptcy

   All litigation against Rite Aid, including claims within this MDL, have been stayed by the
   Bankruptcy Code. Any action against Rite Aid will need to be undertaken in the Bankruptcy Court.
   To the extent this submission is construed as being submitted on behalf of Rite Aid, Rite Aid
   preserves all rights under the automatic stay.

   IV.       Class Notice Plan

   Counsel for Defendants have continued to meet and confer with Plaintiffs’ counsel, and the
   parties have made significant progress toward a class notice plan. Defendants anticipate that the
   meet-and-confer process should be complete in approximately a week to ten days, resulting in
   either an agreed class notice plan or defined differences on discrete issues that can be briefed on
   an expedited basis. Defendants will be prepared to discuss a schedule for submission of the class
   notice plan at the case management conference.

   V.        TPP Trial Preparation

   Defendants’ position regarding preparation for the upcoming TPP trial is set forth in Greg
   Ostfeld’s October 25, 2023 letter to the Court. (See ECF No. 2518.)
Case 1:19-md-02875-RMB-SAK Document 2525 Filed 10/30/23 Page 3 of 6 PageID: 87751


   The Honorable Robert B. Kugler
   Special Master the Honorable Thomas Vanaskie
   October 30, 2023
   Page 3

   VI.      PFS Deficiencies and Orders to Show Cause

   Cases Addressed at the October 4, 2023 Case Management Conference:

   The Court issued 16 show cause orders returnable at the November 1, 2023 Case Management
   Conference:

         1. Leslie Sturgill v. ZHP, et al. – 23-cv-612
         2. Joseph George v. Hetero, et al. – 21-cv-12916
         3. Michelle Worms v. Hetero, et al. – 20-cv-19852
         4. Robert Lee v. Hetero Drugs, et al. – 20-cv-19843
         5. Karl Bartels v. Hetero Labs, et al. – 20-cv-19869
         6. Ronald Jackson v. Torrent, et al – 23-cv-2341
         7. Byron Wrigley v. ZHP, et al. – 23-cv-831
         8. Steven Petrie v. ZHP, et al. 23-cv-1772
         9. Emmett Wesson v. Aurobindo, et al. – 23-cv-2342
         10. Stacey Thomas v. Hetero, et al. – 19-cv-21832
         11. Phillip Quinn v. Hetero, et al. – 21-cv-16026
         12. E/O Alexandra Samocha v. Hetero, et al. – 21-cv-17384
         13. Benjamin Andrews v. ZHP, et al. – 21-cv-10908
         14. Pauline Harris v. Aurobindo, et al. – 23-cv-03016
         15. Antoinette Smith v. Aurobindo, et al. – 23-cv-4166
         16. Vicki Lamb v. Hetero, et al. – 23-cv-3700

   The issues in the Sturgill, George, Lee, Jackson, Wrigley, Petrie, Wesson, Thomas, Quinn, and
   Smith matters are resolved, and the show cause orders may be withdrawn.

   The issues in the Samocha and Harris matters remain unresolved, but the parties agree to an
   extension of the show cause orders until the next case management conference.

   The issues in the Worms, Bartels, Andrews, and Lamb matters remain, and Defendants request
   their dismissal.

   Second Listing Cases – Order to Show Cause Requested:

   Pursuant to CMO-16, the Plaintiff Fact Sheets in the below cases are substantially incomplete and
   contain core deficiencies. Each of these cases was previously listed on the agenda for a prior CMC.
   This list was provided to Plaintiffs’ leadership on October 24, 2023, and a global meet and confer
   was held on October 27, 2023. Defendants have also been available for further discussion as
   needed. Accordingly, Defendants request that an Order to Show Cause be entered in each of these
   cases, returnable at the next case management conference, as to why these cases should not be
   dismissed.
Case 1:19-md-02875-RMB-SAK Document 2525 Filed 10/30/23 Page 4 of 6 PageID: 87752


   The Honorable Robert B. Kugler
   Special Master the Honorable Thomas Vanaskie
   October 30, 2023
   Page 4

   Defense counsel will be prepared to address the individual issues with respect to each of these
   cases, to the extent necessary, during the November 1, 2023 Case Management Conference:


                      Plaintiff        Civil Action     Law Firm       Deficiencies      Deficiency
                                           No.                                           Sent


           1.      Igor Berkovski      23-cv-4153       Charles E.     No PFS Filed      10/3/23
                   v. Hetero, et al.                      Boyk



           2.      Janice Parks v.     23-cv-4155        Farr, Farr    No PFS Filed      10/3/23
                     ZHP, et al.




   First Listing Cases – Remaining Core Deficiencies:

   The following Plaintiff Fact Sheets contain core deficiencies which remain unresolved. This list
   was provided to Plaintiffs’ leadership on October 24, 2023, and a global meet and confer was held
   on October 27, 2023. Defendants have also been available for further discussion as needed. This
   is the first time these cases have been listed on this agenda. Accordingly, Defendants are not
   requesting orders to show cause with respect to any of the below cases at this time and will continue
   to meet and confer to resolve these deficiencies.


                      Plaintiff        Civil Action     Law Firm       Deficiencies       Deficiency
                                           No.                                            Sent

           1.        Ocie Mae          23-cv-3646        Davis &       Need medical       10/11/23
                    Haughton v.                          Crump         expenses;
                     Aurobindo                                         Health
                    Pharma, Ltd.                                       Insurance
                                                                       authorizations
                                                                       must be
                                                                       witnessed
Case 1:19-md-02875-RMB-SAK Document 2525 Filed 10/30/23 Page 5 of 6 PageID: 87753


   The Honorable Robert B. Kugler
   Special Master the Honorable Thomas Vanaskie
   October 30, 2023
   Page 5

                    Plaintiff      Civil Action   Law Firm     Deficiencies     Deficiency
                                       No.                                      Sent

          2.     Mary Hines v.     23-cv-2674     Nabers Law   Authorizations   10/11/23
                  ZHP, et al.                                  must be
                                                               signed and
                                                               witnessed

          3.        Barbara        23-cv-2550     Nabers Law   Largely          10/11/23
                Kaluhiokalani v.                               deficient PFS;
                    Hetero                                     No documents


          4.      Earl Mike v.     23-cv-4204      Farr Farr   No PFS Filed     10/7/23
                   ZHP, et al.



          5.    Stanley Shannon    23-cv-4229      Farr Farr   No PFS Filed     10/8/23
                v. Aurobindo, et
                       al.


          6.    Dena Wallace v.    23-cv-4298      Farr Farr   No PFS Filed     10/10/23
                  ZHP, et al.



          7.    Mary Bishop v.     23-cv-4317      Farr Farr   No PFS Filed     10/10/23
                 Mylan, et al.



          8.    Robert Kennedy     23-cv-13282      Levin      No PFS Filed     10/30/23
                v. Aurobindo, et                  Papantonio
                      al.
Case 1:19-md-02875-RMB-SAK Document 2525 Filed 10/30/23 Page 6 of 6 PageID: 87754


   The Honorable Robert B. Kugler
   Special Master the Honorable Thomas Vanaskie
   October 30, 2023
   Page 6

                      Plaintiff      Civil Action   Law Firm      Deficiencies   Deficiency
                                         No.                                     Sent

           9.    Jerry Anderson      23-cv-13680    Farr Farr     No PFS Filed   11/1/23
                 v. Aurobindo, et
                       al.




                                              Respectfully Submitted,




                                              Jessica Davidson

   cc: All counsel of record (via ECF)t
